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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA


V.                                                     CRIMINAL NO. 4:06CR25WHBJCS-002


EDGAR BETANCOURT


                                     ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby dismisses

Count 2 of the Criminal Indictment against EDGAR BETANCOURT without prejudice.

                                                      DUNN LAMPTON
                                                      United States Attorney

                                              By:     s/Sandra G. Moses

                                                      SANDRA G. MOSES
                                                      Assistant U.S. Attorney
                                                      MS Bar No. 283815

       Leave of Court is granted for the filing of the foregoing dismissal.



      ORDERED this 21st day of February, 2007.


                                                      s/William H. Barbour, Jr.
                                                      UNITED STATES DISTRICT JUDGE
